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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA ex rel. W. BENSON :
CHILES and CHRIS MANTHEY,                                              :
                                                                       :         21-CV-5743 (JMF)
                                   Plaintiff,                          :
                                                                       :              ORDER
                  -v-                                                  :
                                                                       :
COOKE INC. et al.,                                                     :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        In light of Defendants’ new motions to dismiss, see Docket Nos. 51, 55, 59, Defendants’
earlier motions to dismiss filed at Docket Nos. 34, 38, and 41 are hereby DENIED as moot.
Relators’ opposition to the new motions to dismiss — in the form of a single, consolidated
opposition — is due no later than sixty days after the motions were filed. Defendants’ replies
are due within twenty-one days of any opposition. See ECF Nos. 20 & 25.

        The Clerk of Court is directed to terminate Docket Nos. 34, 38, and 41.

        SO ORDERED.

Dated: August 23, 2024                                     __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
